          Case 1:25-cv-00471-TJK         Document 29       Filed 02/28/25     Page 1 of 5




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


NATIONAL URBAN LEAGUE, et al.,

                        Plaintiffs,

         v.                                                Civil Action No. 25-cv-00471

DONALD J. TRUMP, et al.,                                ORAL ARGUMENT REQUESTED

                        Defendants.


                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

         Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65.1, Plaintiffs

National Urban League (“NUL”), National Fair Housing Alliance (“NFHA”), and AIDS

Foundation of Chicago (“AFC”) (collectively “Plaintiffs”) hereby move for a preliminary

injunction prohibiting Defendants 1 from enforcing and implementing key provisions of Executive

Order Nos. 14151, 2 14168, 3 and 14173 4 issued by Defendant Donald J. Trump (collectively, “the

Executive Orders”), which impose various restrictions on speech and conduct relating to diversity,

equity, inclusion, accessibility, and gender.

         As set out in the attached Memorandum in Support of Plaintiffs’ Motion for Preliminary

Injunction (the “Memorandum”), the Executive Orders violate the Constitution of the United

States. Section 2(b)(i) (the “Equity Termination Provision”) and Section § 2(b)(ii)(C) (the “List


1
    Plaintiffs do not move for a preliminary injunction as to Defendant Donald J. Trump.
2
 Exec. Order No. 14151, Ending Radical and Wasteful Government DEI Programs and
Preferencing, 90 Fed. Reg. 8339 (Jan. 20, 2025).
3
 Exec. Order No. 14168, Defending Women from Gender Ideology Extremism and Restoring
Biological Truth to the Federal Government, 90 Fed. Reg. 8615 (Jan. 20, 2025).
4
 Exec. Order No. 14173, Ending Illegal Discrimination and Restoring Merit-Based Opportunity,
90 Fed. Reg. 8633 (Jan. 21, 2025).
        Case 1:25-cv-00471-TJK          Document 29         Filed 02/28/25      Page 2 of 5




Provision”) of Executive Order No. 14151; Section 3(e) (the “Gender Termination Provision”) and

Section 3(g) (the “Gender Promotion Provision”) of Executive Order No. 14168; and Section

3(c)(ii) (the “DEIA Principles Provision”), Section 3(c)(iii) (the “Diversity Termination

Provision”), Section 3(b)(iv) (the “Certification Provision”), and Section 4(b) (the “Enforcement

Threat Provision”) of Executive Order No. 14173 violate core requirements of due process under

the Fifth Amendment, while also discriminating against Plaintiffs on the basis of viewpoint and

chilling their speech in violation of the Free Speech Clause of the First Amendment. 5

       These unconstitutional provisions of the Executive Orders have no place in our democracy.

The issuance of the Executive Orders and the subsequent actions taken by Defendants have caused,

and continue to cause, irreparable injury to Plaintiffs. Plaintiffs therefore ask that the Court enter

an order enjoining Defendants from enforcing and implementing the above provisions in the

Executive Orders. A proposed order is attached for the Court’s convenience.

       In support of this Motion, Plaintiffs rely upon the accompanying Memorandum,

declarations, and exhibits, as well as any additional submissions and argument that may be

considered by the Court.

          REQUEST FOR EXPEDITION PURSUANT TO LOCAL RULE 65.1(d)

       Pursuant to Local Civil Rule 65.1(d), Plaintiffs respectfully request that the Court schedule

a hearing on this motion for a preliminary injunction at the Court’s earliest convenience, and no

later than March 21, 2025. As further explained in the accompanying Memorandum, expedition

is warranted to prevent further irreparable harms, including injuries to Plaintiffs’ organizational

programs and missions and the unconstitutional chilling effects on their protected speech inflicted


5
 Plaintiffs only move for a preliminary injunction as to the DEIA Principles Provision on
grounds that it violates the Fifth Amendment, and as to the Gender Termination Provision on
grounds that it violates the First Amendment.

                                                  2
        Case 1:25-cv-00471-TJK          Document 29       Filed 02/28/25      Page 3 of 5




by the Executive Orders and Defendants’ subsequent actions. Defendants’ actions place Plaintiffs

at imminent risk of losing federal funding that fuels their work on behalf of vulnerable

communities.    Defendants have already begun threatening Plaintiffs’ funds pursuant to the

Executive Orders. If Plaintiffs lose access to such funds, then they will be forced to reduce

programming, lay off staff, and curtail important services, thereby frustrating Plaintiffs’ programs

and harming the communities they serve.

                STATEMENT PURSUANT TO LOCAL CIVIL RULE 7(m)

       Pursuant to Local Civil Rule 7(m), Plaintiffs’ counsel conferred with Defendants’ counsel

to determine if Defendants would consent to the relief requested in this motion. Defendants’

counsel informed Plaintiffs’ counsel by email that Defendants do not consent.

Dated: February 28, 2025                              Respectfully submitted,

                                                           /s/ Stacey K. Grigsby

Jin Hee Lee, DC Bar No. 1740850                       Stacey K. Grigsby, DC Bar No. 491197
Gabriel Diaz, DC Bar No. 991618                       Sarah E. Harrington, DC Bar No. 219218
Donya Khadem, DC Bar No. 1719557                      Alison DiCiurcio, DC Bar No. 1601410
NAACP LEGAL DEFENSE &                                 COVINGTON & BURLING LLP
    EDUCATIONAL FUND, INC.                            850 Tenth Street, NW
700 14th Street NW, Suite 600                         Washington, DC 20001
Washington, DC 20005                                  (202) 662-6000
(202) 682-1300                                        sgrigsby@cov.com
jlee@naacpldf.org                                     sharrington@cov.com
gdiaz@naacpldf.org                                    adiciurcio@cov.com
dkhadem@naacpldf.org
                                                      Nicholas E. Baer, DC Bar No. 1672517
Leah Wong                                             James H. Fitch, DC Bar No. 1780894
NAACP LEGAL DEFENSE &                                 COVINGTON & BURLING LLP
   EDUCATIONAL FUND, INC.                             620 Eighth Avenue
40 Rector Street, 5th Floor                           New York, NY 10018
New York, NY 10006                                    (212) 841-1000
(212) 965-2200                                        nbaer@cov.com
lzwong@naacpldf.org                                   jhfitch@cov.com

Camilla B. Taylor, DC Bar No. IL0098
Kenneth D. Upton, Jr., DC Bar No. 1658621

                                                 3
       Case 1:25-cv-00471-TJK           Document 29   Filed 02/28/25   Page 4 of 5




LAMBDA LEGAL DEFENSE AND
   EDUCATION FUND, INC.
3656 North Halsted Street
Chicago, IL 60613
(312) 605-3225
ctaylor@lambdalegal.org
kupton@lambdalegal.org

Jose Idio Abrigo
LAMBDA LEGAL DEFENSE AND
   EDUCATION FUND, INC.
120 Wall Street, 19th Floor
New York, NY 10005
(646) 307-7406
jabrigo@lambdalegal.org

Pelecanos
LAMBDA LEGAL DEFENSE AND
   EDUCATION FUND, INC.
800 South Figueroa Street, Suite 1260
Los Angeles, CA 90017*
(323) 370-6909
pelecanos@lambdalegal.org

*Address for mailing purposes only




                                              4
        Case 1:25-cv-00471-TJK           Document 29        Filed 02/28/25      Page 5 of 5




                                 CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on February 28, 2025, the foregoing

Plaintiffs’ Motion for Preliminary Injunction was filed through the CM/ECF system and sent

electronically to the participants identified on the Notice of Electronic Filing.



                                                     /s/ Stacey K. Grigsby
                                                     Stacey K. Grigsby (DC Bar No. 491197)
                                                     Covington & Burling LLP
